Case 1:18-cr-OO40'1-E.]L Document 28 Filed 04/10/19 Page 1 of 5

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UNITED STATES DISTRlCT COURT

 

 

FOR THE DISTRICT OF IDAHO
UNIT'ED STATES OF AMERICA,
Case No. 1:18-CR-00401-EJL
Plaintiff, _
SUPERSEDING INDICTMENT
vs. _
18 U.S.C. § 924(a)(1)(A)`
DAVID PAUL ROBERTS, _ 21 U.S.C. § 841(a)(1) and (b)(l)(A)
STEVEN TODD THOMPSON, 21 U.S.C. § 841(a)(1) and (b)(l)(C)
COLT MURDOCK SPENCER, 21 U.S.C. § 846
TIMO'I`HY PATRICK HIGDEM, 21 U.S.C. § 853
ECHO MARIE DALOS, '
CRYSTAL SUE COX,
AMANDA RACHELLE SMITI-I,
Defenda_nts.
'_1`he Grand Jury charges:

COUNT ONE

Conspiracy to Distribute Methamphetamine
21 U.S.C. §§ 841(3)(1), (b)(l)(C), and 846

From on or about August 2017, and continuing thereafter until April 10, 2019, in the

Distl‘ict of Idaho, and elsewhere, the defendants, DAVID PAUL ROBERTS, STEVEN TODD

SUPERSEDING INDICTMENT - 1

 

Case 1:18-cr-OO40l-E.]L Document 28 Filed 04/10/19 Page.20f5

THOMPSON, COLT MURDOCK SPENCER, TIMOTHY PATRICK HIGDEM, ECHO
MARIE DALOS, CRYSTAL SUB COX, and AMANDA RACHELLE SMITH, knowingly and
intentionally conspired and agreed together and with other unnamed persons, to commit the
following offense against the United States: to distribute a mixture and substance containing a
detectable amount of methamphetamine, a Schedule ll controlled substance, in violation of Title
21, United States Code, Sections 841(a)(1), (b)(1)(C), and 846.

COUNT TWO

Possession of Methalnphetamine with the Intent to-Distribute
21 U.S.C. § 841(a)(1) and (b)(l)(A)

On or about December 10, 2018, in the District of Idaho, the defendant, DAVID PAUL
ROBERTS, knowingly and intentionally possessed with intent to distribute five hundred grams
or more of a mixture and substance containing a detectable amount of methamphetamine, a
Schedule II controlled substance, in violation of Title 21, United States Code, Section 841(a)(1)
and (b)(l )(A). n

C_¢)nN;T'HI_RE@

Distribution of Methamphetalnine
21 U.S.C. § 841(a)(1) and (b)(l)(A)

On or between August 1, 2018, and August 28, 2018, in the District_ ofIdaho, the
defendant, DAVID PA_UL ROBERTS, knowingly and intentionally distributed fifty grams or
more of actual methamphetamine, a Schedule II controlled substance, in violation of Title 21 ,

' United States Code, Section 841(a)(1) and (b)(_])(A). '

SUPERSEDING INDICTMENT - 2

 

Case 1:18-cr-OO40l-E.]L Document 28 Filed 04/10/19 Page 3 of 5

COUNT F()UR

Distribution of Methamphetamine _
21 U.S.C. § 841(a)(1) and (b)(l)(C)

On or about May 3, 2018, in the District of Idaho, the defendant, TlMOTI-iY PATRICK
HIGDEM, knowingly and intentionally distributed a mixture and substance containing a
detectable amount of methamphetamine, a Schedule 11 controlled substance, in violation of Title
21, United States Code, Section 841(a)(1) and (b)(l)(C). '

COUNT FIVE

Distribution of Methamphetamine
21 U.S.C. § 841(a)(1) and (b)(l)(C)

On or about October 2, 2018, in the District of Idaho, the defendant, ECHO MARIE
DALOS, knowingly and intentionally distributed a mixture and substance containing a detectable
amount of methamphetamine, a Schedule 11 controlled substance, in violation of Title 21, United
States Code, Section 841(a)(1) and (b)(l)(C). l

CRIMINAL FORFEITURE ALLEGATION

Drug Forfeiture
'21 U.S.C. § 853

Upon conviction of the offenses alleged in Counts One through Five of this Superseding
Indictment, the defendants, DAVID PAUL ROBERTS, STEVEN TODD THOMPSON, COLT
MURDOCK SPENCER, TIMOTHY PATRICK HIGDEM, ECHO MARIE DALOS, CRYSTAL
SUE COX, and AMANDA RACHELLE SMlTH, shall forfeit to the United States any and all
pr‘opelty, real and personal,_ tangible and intangible, consisting of or derived from any proceeds
the defendants obtained directly or indirectly as a result of the foregoing drug offenses; and any

and all property, real and personal, tangible and intangible, used or intended to be used, in any

SUPERSEDING INDICTMENT ~ 3

 

Case 1:18-cr-OO40l-E.]L Document 28 Filed 04/10/19 Page 4 of 5

manner or part, to commit, or to facilitate the connnission of, the foregoing offenses including

but not limited to the following:

1. Seized Property: $6,500 seized at 304 Van Buren Street, in Twin Falls, ldaho, on

December 10, 2018,

2. Unrecovered Cash Proceeds: At least $20,000 in United States currency and all

interest and proceeds traceable thereto, in that such sum in aggregate is propelty

which constituted proceeds of the charged offenses, property involved in or

facilitating such offenses, or was received in exchange for the distribution of

controlled substances, and was subsequently expended, spent, distributed or otherwise

disposed of by the defendants

Substitute Assets

Pursuant to 21 U.S.C. § 853 and other applicable statutes, the government will seek

forfeiture of substitute assets, “or any other property of the defendant” up to the value of the

defendants’ assets subject to forfeiture. The government will do so when the property subject to

forfeiture cannot be forfeited for one or more of the following reasons:

a.

b.

C.

without difficulty.

Cannot be located upon the exercise of due diligence;

Has been transferred or Sold to, or deposited with, a third person;
Has been placed beyond the jurisdiction of the court;

Has been substantially diminished in value; or

Has been commingled with other property which cannot be subdivided

SUPERSEDING INDICTMENT - 4

 

Case 1:18-cr-OO40l-E.]L Document 28 Filed 04/10/19 Page 5 of 5

naer this roth dayiorApl-il, 2019.

A TRUE BILL

/s/ [sign_a£ure on reverse ]

 

FOREPERSON

BART M. DAvIs
UNITED s'rArEs ATTORNEY
By:

      

ennis P R s. liTWooD
'r UNITED sTATEs ATroRNEY

SUPERSE])ING INDICTMENT - 5

 

